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13                    IN THE UNITED STATES DISTRICT COURT
14                  FOR THE SOUTHERN DISTRICT OF CALIFORNIA
15 COLUMBIA SPORTSWEAR NORTH                   Case No. 3:17-cv-01781
16 AMERICA, INC., an Oregon
   corporation,                                SEIRUS’ SIXTH AMENDED EXHIBIT
17                                             LIST
18              Plaintiff,
                                               Judge:       Marco A. Hernández
19          v.                                 Courtroom:   3C
20 SEIRUS INNOVATIVE                           Date:        September 18, 2017
                                               Time:        9:00 AM
21 ACCESSORIES, INC., a Utah
   corporation
22                                             Date Action Filed: January 12, 2015
               Defendants.                     Trial Date: September 18, 2017
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                                            SEIRUS’ SIXTH AMENDED EXHIBIT LIST
                                                      Case No. Case No. 3:17-cv-01781
     Case 3:17-cv-01781-HZ Document 312 Filed 09/18/17 PageID.12973 Page 2 of 3




1           Defendant Seirus Innovative Accessories, Inc.’s (“Seirus”) SIXTH Amended
2     Exhibit List is attached as Appendix A hereto. To avoid duplication, Seirus reserves
3     its right to rely on any exhibit appearing on Columbia’s exhibit list and any
4     amendments thereto.
5
6     Dated: September 18, 2017               FISH & RICHARDSON P.C.
7
                                              By: /s/ Christopher S. Marchese
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11                                            Accessories, Inc.
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                                            SEIRUS’ SIXTH AMENDED EXHIBIT LIST
                                                      Case No. Case No. 3:17-cv-01781
     Case 3:17-cv-01781-HZ Document 312 Filed 09/18/17 PageID.12974 Page 3 of 3




1                               CERTIFICATE OF SERVICE
2           The undersigned hereby certifies that a true and correct copy of the above and
3     foregoing document has been served on September 18, 2017, to all counsel of record
4     who are deemed to have consented to electronic service via the Court’s CM/ECF
5     system per Civil Local Rule 5.4. Any other counsel of record will be served by
6     electronic mail, facsimile and/or overnight delivery.
7
8                                            /s/ Christopher S. Marchese
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                                             SEIRUS’ SIXTH AMENDED EXHIBIT LIST
                                                       Case No. Case No. 3:17-cv-01781
